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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 ELIZABETH BARBER, et al., on behalf of
 themselves and all others similarly situated,        Civil Action No. 1:20-cv-01137-CJN

        Plaintiffs,

 v.

 ELISABETH DeVOS, in her official
 capacity as United States Secretary
 of Education, and UNITED STATES
 DEPARTMENT OF EDUCATION,

        Defendants.


                             DEFENDANTS’ STATUS REPORT

       The Court’s minute order of June 22, 2020, directed Defendants to submit a Status

Report, “apprising the Court of: (1) the percentage of borrowers whose wages are being

garnished; (2) the percentage of refunds issued; (3) the means the Department [of Education

(‘Department’)] is using to contact employers continuing to garnish wages; (4) how many

borrowers do not have a valid address on file; and (5) a description of the Department's attempts

to reach them.” Pursuant to this Order, Defendants hereby submit the following Status Report:

       (1) The percentage of borrowers whose wages are being garnished:

       In his June 2, 2020 Declaration (ECF No. 20-1), Mark A. Brown, Chief Operating

Officer, Federal Student Aid (“FSA”), U.S. Department of Education, explained that the

Department cannot directly determine when an employer has canceled garnishment for its

employees with federally-held student loans. Instead, the Department measures on a weekly

basis the percentage of borrowers for whom it has received an administrative wage garnishment

(“AWG”) payment from an employer, during the week at issue, compared against the total
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number of unique borrowers for which the Department has received an AWG payment since

March 13, 2020 (the latter is also referred to in the Declaration as “the original pool covered by

the CARES Act”). Brown Decl. ¶ 40. In other words, the percentages provided represent a

snapshot of the garnishment payments received by the Department from employers during the

given week.

       For the week ending August 6, 2020, the Department received payments from

garnishment by approximately 2,656 employers affecting 0.8% of the total number of unique

borrowers for which the Department has received an AWG payment since March 13, 2020.

       (2) The percentage of refunds issued:

       As of August 6, 2020, the Department has now issued AWG refunds totaling over $182

million to over 378,000 borrowers, representing over 96.7% of the wages garnished since March

13, 2020. Refunds for the remaining borrowers have been initiated by FSA and are either being

actively processed or on hold because the borrowers owed a refund have an invalid address on

file. In the meantime, all garnishment funds received by the Department are applied to each

borrower’s account until such time as a refund can be processed and sent to the borrower.

       (3) The means the Department is using to contact employers continuing to garnish wages:

       The Department’s contractor, Maximus Federal Servicers (“Maximus”), continues to

attempt to re-contact by phone or written notifications those non-compliant employers who

continue to send in garnishment payments, prioritizing employers by the number of employees

they are garnishing. The Department reviews regular reports (at least weekly) from Maximus on

which employers have recently garnished wages and on Maximus’ calls and letters to those




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employers to remind them to stop garnishing wages and discusses with Maximus what further

action will be taken.

        (4) How many borrowers do not have a valid address on file:

        As of August 6, 2020, there were fewer than 21,340 borrowers without valid addresses on

file.

        (5) A description of the Department’s attempts to reach them:

        The Department continues to work to validate addresses by sending emails to the

borrowers (most if not all of whom have email addresses on file) on a weekly basis notifying

them they are owed a refund and instructing them how to access and use the Debt Resolution

Portal to confirm their address. The Department is also working with the Department of

Treasury to locate correct addresses for these borrowers.



        Defendants continue to encourage Plaintiffs’ counsel to put any borrower still being

garnished or who has not received a refund in touch with the Department, in order to provide

information to direct the Department’s ongoing efforts to encourage the few remaining

employers who are garnishing wages to stop garnishment, as well as to provide refunds where

warranted.




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Dated: August 10, 2020                    Respectfully submitted,
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